Exhibit A
                                                           L AW O FFICES
                                             B R O W N , R EA D DIC K , B UM GA RTN ER ,
                                          C AR TER , S TR IC KLA N D & W A TK IN S , LLP
                                                       5 G LY N N A VEN U E
                                                          P. O. Box 220
                                               B RUN SW ICK , G EORGIA 31521-0220
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G . T ODD C ARTER                                           (912) 264-8544                            O F C OUNSEL
R ICHARD K . S TRICKLAND                                F AX - (912) 264-9667                   J. T HO MAS W HELCHEL
B RADLEY J. W ATKINS
P AUL M . S COTT                                                                                       R ETIRED
S TEVEN G . B LACKERBY                                                                          R ICHARD A . B RO W N , J R .
E RIC L . B UMGARTNER                                                                             T ERRY L . R EADDICK
E MILY R . H ANCOCK                                                                              J OHN E . B UMGARTNER
S EAN K . S CALLY
A MANDA L . S ZOKOLY




                                                      March 10, 2021

Clare Norins, Esq.
First Amendment Clinic
UGA School of Law
P. O. Box 388
Athens, GA 30603
SENT VIA EMAIL

           Re:         Emma Jane Prospero v. Deputy Ryan Sullivan, et al.
                       U.S.D.C. / CV# 2:20-cv-110

Dear Clare,

       This is a good-faith attempt to resolve a discovery dispute pursuant to Southern District of Georgia
Local Rule 26.5. Defendants propounded Requests for Production and Interrogatories upon the Plaintiff
on or about December 9, 2020. Plaintiff’s responses were received on or about January 29, 2021. Plaintiff
objected to Defendants’ Interrogatories number 24 and 25, asserting that both were overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible information. As set forth
below, Defendants respectfully disagree with Plaintiff’s conclusion. Please provide full and complete
responses to Interrogatories number 24 and 25 within ten days of your receipt of this letter
so that we may avoid scheduling a telephonic conference with the Magistrate Judge.

           Defendants’ Interrogatory Number 24 reads as follows:

                             24. Please identify all of your internet social media and
                             networking websites and/or applications, which you have used
                             and/or maintained an account in the last six (6) years. Internet
                             social media websites include, but are not limited to, Facebook,
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                      LinkedIn, Twitter, Instagram, Foursquare, YouTube, Pinterest,
                      Google+, Tumblr, Flicker, Skype, FaceTime, etc. For each
                      internet social media website account, please provide your
                      username and password.

       Defendants’ Interrogatory Number 25 reads as follows:

                       25. Please identify any and all blog or internet message
                       boards, chat rooms, and public forums that you have
                       participated in or a member of within the last six (6) years.
                       “Internet message board or public forum” includes but is not
                       limited to any internet website or service in which users post
                       messages or content in a public-forum. For each blog or
                       internet message board, chat room, and public forum, please
                       provide your username and password.

       In essence, these Interrogatories seek discovery of social media content created by the Plaintiff
within the last 6 years. Such content is discoverable when a plaintiff puts her physical, mental, and/or
emotional condition at issue in a lawsuit. See Dickerson v. Barancik, 2019 WL 9903813, at *1 (M.D. Fla.
Oct. 22, 2019)(“Courts within the Eleventh Circuit have noted that ‘social media content is generally
discoverable,’ particularly where, as in this case, the plaintiff's physical condition is at issue.”); See also
Anderson v. Centraarchy Rest. Mgmt. Co., 2016 WL 316851 (N.D. Ga. Jan. 26, 2016)(Imposing sanctions
against plaintiff for failure to comply with magistrate’s order compelling plaintiff to provide social media
account information and usernames, when plaintiff put her emotional state at issue in suit ); Crossman
v. Carrington Mortg. Servs., LLC, 2020 WL 2114639 (M.D. Fla. May 4, 2020)(Granting motion to compel
plaintiff to produce full download of social media accounts for five year period, when plaintiff put her
mental and emotional state at issue).

       In Crossman, the plaintiff objected to the request for a full download of her social media profiles
on the bases of relevancy and privacy, among other things. In its order compelling the production of the
plaintiff’s social media account profiles, the court responded to those objections as follows:

                      On relevancy, common sense dictates that information in
                      [plaintiff’s] social media, including her Facebook and
                      Instagram accounts, relates to her contemporaneous mental
                      and emotional states and therefore relates to the injuries she
                      claims she suffered at the hands of [defendant], including loss
                      of enjoyment of life ... Ultimately, the factfinder will determine
                      the significance of the information—or lack thereof—to her
                      claims and defenses. On privacy, she has ceded some by sharing
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                     her personal information with others on social media and by
                     bringing this lawsuit subject to the public right of access. To the
                     extent she has not, a confidentiality agreement suffices to
                     protect her interests, and the obligations of members of the
                     Court's bar suffices to deter misuse of the information.
Id. at 4.

       In this case, Plaintiff puts her physical, mental, and emotional well-being at issue. According to the
forensic psychiatrist who evaluated her, Plaintiff specifically claims to feel “disconnected from others”,
“isolated” and, “like an outcast”, and to “hav[e] difficulty meeting and talking to people.” The forensic
psychiatrist’s ultimate diagnosis of PTSD is premised, in large part, upon the veracity of these claims.
Plaintiff’s social media account information and online social presence are plainly relevant, and any
privacy interests are outweighed by the potential discovery of admissible evidence. To the extent that
Plaintiff’s privacy concerns persist, Defendants are willing to enter a confidentiality agreement with
respect to the social media content produced.

        In further effort to avoid a discovery dispute, Defendants are willing to narrow their request to
complete downloads of Plaintiff’s social media accounts in lieu of account username and password
information. Facebook provides step-by-step instructions for its users to download their information at
the following web address: https://www.facebook.com/help/212802592074644. Defendants request that
Plaintiff’s entire Facebook account(s) be downloaded, with all categories selected, in HTML format.
Defendants also request a complete download of Plaintiff’s Twitter archive(s), Instagram data, and all
other social media account profiles for the past 6 years. Furthermore, Defendants request that Plaintiff
identify all internet forums, chat rooms, and/or message boards in which she may have generated or
received content over the past 6 years, and identify the screen name or handle under which such posts
or content was produced. If the forums are not publicly accessible, Defendants request the Plaintiff either:
(a) access the forums and download and produce all content created and received over the past 6 years,
or (b) provide Defendants with full access to said forums and content.

        As we previously discussed, Defendants feel very strongly that Plaintiff’s social media activity is
highly relevant in this case, especially with regard to her apparent PTSD diagnosis. A cursory review of
the limited publicly-available content on the Plaintiff’s Facebook page, maintained under the name
“Barbie Prospero (Vegan Barbie)”, only strengthens our conviction.

       This letter also serves to formally demand preservation of evidence relevant to this
case, including all of Plaintiff’s social media profiles, social media accounts, blogs, online
posts, online comments, online messages, written correspondence, emails, texts, journals,
and diaries from the past 6 years. The destruction, alteration, or loss of evidence may constitute
spoliation under applicable law and may result in sanctions and/or the jury being instructed to presume
that the unavailable evidence was favorable to Defendants.
Clare Norins, Esq.
March 10, 2021
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      Best regards.

                                       Sincerely,

                                       BROWN, READDICK, BUMGARTNER,
                                       CARTER, STRICKLAND & WATKINS, LLP

                                       /s/ Bradley J. Watkins

                                       /s/ Amanda L. Szokoly



ALS/lsa

cc:   Kimberly C. Butler, Esq. via email
                                                                                                  School of Law
                                                                                                  First Amendment Clinic
                                                                                                  P.O. Box 388
                                                                                                  Athens, Georgia 30603
                                                                                                  TEL 706.542.1419
                                                                                                  Fax: 706.227.5440
                                                                                                  FAClinic@uga.edu


                                                                   March 19, 2021

VIA EMAIL
Bradley J. Watkins
bwatkins@brbcsw.com
Amanda L. Szokoly
aszokoly@brbcsw.com
Brown, Readdick, Bumgartner,
Carter, Strickland & Watkins, LLP
5 Glynn Ave.
Brunswick, Ga. 31520

                                                 Re:         Emma Jane Prospero v. Deputy Ryan Sullivan, et al.
                                                             Civil Case No. 2:20-cv-110 (S.D. Ga.)

Dear Counsel:

       We write in response to your May 10, 2021 letter concerning defendants’ broad and
undifferentiated request for all of plaintiff’s social media, going back six years to 2015, four
years before her arrest and detention that are at issue in this case. Specifically, defendants have
requested and plaintiff has responded as follows:

            INTEREROGATORY NO. 24 Please identify all of your internet social
            media and networking websites and/or applications, which you have used
            and/or maintained an account in the last six (6) years. Internet social media
            websites include, but are not limited to, Facebook, LinkedIn, Twitter,
            Instagram, Foursquare, YouTube, Pinterest, Google+, Tumblr, Flicker,
            Skype, FaceTime, etc. For each internet social media website account,
            please provide your username and password.

            SUPPLEMENTAL RESPONSE: Plaintiff objects to this interrogatory as
            overly broad in both time frame and scope, unduly burdensome, and not
            reasonably calculated to lead to the discovery of admissible information.
            Plaintiff’s social media username and password information is not made
            public to the people with whom Plaintiff interacts on social media and
            Plaintiff’s Facebook posts are private and restricted from public view.
            Defendants do not have “a generalized right to rummage at will through the
            information that [Plaintiff] has limited from public view.” Jewell v.
            Aaron’s, Inc., 2013 U.S. Dist. LEXIS 102182 (N.D.G.A. July 19, 2013).
            “Otherwise, [Defendants] would be allowed to engage in the proverbial
            fishing expedition, in the hope that there might be something of relevance


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       in [Plaintiff’s] accounts.” Id. Subject to and without waiving these
       objections, Plaintiff has not posted on social media about her arrest or
       detention or resulting injuries or damages. Plaintiff has exchanged some
       private social media messages about these topics, and Plaintiff has produced
       those messages at P000126 – 129. Allowing Defendants to rummage
       through Plaintiff’s private online messages would not only invade
       Plaintiff’s privacy but would greatly invade the privacy of the individuals
       with whom she has corresponded.

       INTERROGATORY NO. 25: Please identify any and all blog or internet
       message boards, chat rooms, and public forums that you have participated
       in or a member of within the last six (6) years. “Internet message board or
       public forum” includes but is not limited to any internet website or service
       in which users post messages or content in a public-forum. For each blog or
       internet message board, chat room, and public forum, please provide your
       username and password.

        SUPPLEMENTAL RESPONSE: Plaintiff objects to this interrogatory as
       overly broad in both time frame and scope, unduly burdensome, and not
       reasonably calculated to lead to the discovery of admissible information.
       Plaintiff’s internet username and password information is not made public
       to the people with whom Plaintiff interacts on the internet and Defendants
       do not have “a generalized right to rummage at will through the information
       that [Plaintiff] has limited from public view.” Jewell v. Aaron’s, Inc., 2013
       U.S. Dist. LEXIS 102182 (N.D.G.A. July 19, 2013). “Otherwise,
       [Defendants] would be allowed to engage in the proverbial fishing
       expedition, in the hope that there might be something of relevance in
       [Plaintiff’s] accounts.” Id. Subject to and without waiving these objections,
       Plaintiff has not posted on blogs, Internet message boards, or public forums
       about her arrest or detention or resulting injuries or damages. Plaintiff has
       exchanged some private social media messages about these topics, and
       Plaintiff has produced those messages at P000126 – 129. But allowing
       Defendants to rummage through Plaintiff’s private online messages would
       not only invade Plaintiff’s privacy but would greatly invade the privacy of
       the individuals with whom she has corresponded

        While some social media content may be discoverable as recognized by plaintiff’s
production to-date in this case (P000126 – 129), social media content is still subject to the basic
rules of discovery that prohibit defendants from engaging in “fishing expeditions.” See, e.g.,
Anderson v. City of Fort Pierce, No. 14-14095-CIV, 2015 WL 11251963, at *2 (S.D. Fla. Feb.
12, 2015); Jewell v. Aaron’s, Inc., 2013 U.S. Dist. LEXIS 102182 (N.D.G.A. July 19, 2013);
Davenport v. State Farm Mut. Auto. Ins. Co., No.3:11–cv–632–J–JBT, 2012 WL 555759, at *1
(M.D. Fla. Feb. 21, 2012).




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         Yet a fishing expedition is precisely what defendants propose here, seeking to riffle
through the entirety of plaintiff’s social media, even including plaintiff’s communications with
and about third parties, events, and subject matter that have nothing to do with the events at issue
in this case or plaintiff’s physical or emotional state. Indeed, when you were asked to share the
screenshots of Mrs. Prospero’s social media that you allude to having and which you purport
establish relevance, you declined to do so. This further underscores that your discovery requests
are an inappropriate attempt to trawl and exploit Mrs. Prospero’s social media in the hopes of
distracting from the actual issues in the case.

        Neither the Federal Rules of Civil Procedure nor the balance of the case law support the
sweeping, un-cabined intrusion you propose into the life of plaintiff, and, collaterally, the lives of
unrelated third parties, dating back years before the discrete events out of which this case arises.
See Thurmond v. Bowman, No. 14-CV-6465W, 2016 WL 1295957 at *10 (W.D.N.Y. Mar. 31,
2016) (“many courts have declined to order wholesale production of a litigant’s social media
accounts”; “[a] plaintiff's entire social networking account is not necessarily relevant simply
because he or she is seeking emotional distress damages”); Giacchetto v. Patchogue-Medford
Union Free Sch. Dist., 293 F.R.D. 112, 115 (E.D.N.Y. 2013) (“The fact that an individual may
express some degree of joy, happiness, or sociability on certain occasions sheds little light on the
issue of whether he or she is actually suffering emotional distress.”); Mailhoit v. Home Depot
U.S.A., Inc., 285 F.R.D. 566, 571-72 (C.D. Cal. 2012) (defendant’s request for any social media
“profiles, postings or messages” that related to “any emotion, feeling, or mental state” of
plaintiff, as well as communications by or from plaintiff that related to events that could
“reasonably be expected to produce a significant emotion, feeling, or mental state” were
overbroad, “failed to satisfy Rule 34(b)(1)(A)’s requirement that production requests be stated
with reasonable particularity,” and would “arguably require the production of many materials of
doubtful relevance”). See also In re Cook Med., Inc., IVC Filters Mktg., Sales Practices & Prod.
Liab. Litig., No. 1:14-ML-2570-RLY-TAB, 2017 WL 4099209, at *6 (S.D. Ind. Sept. 15, 2017)
(denying motion to compel Plaintiff to turn over a screen shot of every private message she sent
to anyone on any topic); Kennedy v. Contract Pharmacal Corp., No. 12–CV–2664, 2013 WL
1966219, at *2 (E.D.N.Y. May 13, 2013) (denying motion to compel “all documents ... reflecting
and/or regarding Plaintiff's expression of an emotional feeling while utilizing a social networking
site” where there was no specificity to the requests and no effort to limit requests to any relevant
acts alleged in the action).

        Your May 10th letter relies primarily on Crossman v. Carrington Mortg. Servs., LLC,
2020 WL 2114639 (M.D. Fla. May 4, 2020). However, while the social media requests in
Crossman were inappropriately overbroad, see, e.g., Mailhoit, supra, they were at least more
tailored to the defendants’ relevancy arguments than your current blanket requests for the totality
of plaintiff’s social media. Further, in Crossman, the plaintiff did not object to the time period of
the request which encompassed the dates of the plaintiff’s years-long employment with the

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defendant employer. Here, plaintiff strongly objects to the proposed 6-year time frame. The
arrest and detention triggering plaintiff’s emotional distress occurred over the course of about 36
hours in January 2019. There is no legitimate basis to seek information dating back four years
before that.

       While we will consider any narrowed request for social media content that you wish to
present, as currently formulated your requests are overbroad and not stated with any reasonable
degree of particularity. Our previous objections therefore stand.


                                              Sincerely,


Clare R. Norins                               Kirstiana Perryman
Clare R. Norins                               Kirstiana Perryman
Clinic Director                               Student Attorney


Janay Alexander
Janay Alexander
Student Attorney




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